Case 0:17-cv-60426-UU Document 428 Entered on FLSD Docket 02/08/2019 Page 1 of 5



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


   ALEKSEJ GUBAREV,
   XBT HOLDING S.A., and
   WEBZILLA, INC.                                                     Case No.
     Plaintiffs,
                                                                 0:17-cv-60426-UU
   v.

   BUZZFEED, INC. and
   BEN SMITH
     Defendants.


                                      NOTICE OF FILING
         Plaintiffs in the above captioned case, in accordance with the Court’s Order dated
  January 30, 2019, Docket Entry no. 421, hereby file unsealed versions of the following
  documents:
         1.     Attached hereto as Annex 1 is Exhibit 22 to Plaintiffs’ Motion for Summary
  Judgment on Public Figure Affirmative Defense, previously filed under seal as part of D.E. 211-
  14.
         2.     Attached hereto as Annex 2 is Exhibit 23 to Plaintiffs’ Motion for Summary
  Judgment on Public Figure Affirmative Defense, previously filed under seal as part of D.E. 211-
  14.
         3.     Attached hereto as Annex 3 is Exhibit 24 to Plaintiffs’ Motion for Summary
  Judgment on Public Figure Affirmative Defense, previously filed under seal as part of D.E. 211-
  14.
         4.     Attached hereto as Annex 4 is Exhibit 25 to Plaintiffs’ Motion for Summary
  Judgment on Public Figure Affirmative Defense, previously filed under seal as part of D.E. 211-
  14.
         5.     Attached hereto as Annex 5 is Exhibit 42 to Plaintiffs’ Motion for Summary
  Judgment on Public Figure Affirmative Defense, previously filed under seal as part of D.E. 211-
  18.



                                                 1
Case 0:17-cv-60426-UU Document 428 Entered on FLSD Docket 02/08/2019 Page 2 of 5



         6.     Attached hereto as Annex 6 is Exhibit 43 to Plaintiffs’ Motion for Summary
  Judgment on Public Figure Affirmative Defense, previously filed under seal as part of D.E. 211-
  18.
         7.     Attached hereto as Annex 7 is Exhibit 44 to Plaintiffs’ Motion for Summary
  Judgment on Public Figure Affirmative Defense, previously filed under seal as part of D.E. 211-
  18.
         8.     Attached hereto as Annex 8 is Exhibit 49 to Plaintiffs’ Motion for Summary
  Judgment on Public Figure Affirmative Defense, previously filed under seal as part of D.E. 211-
  21.
         9.     Attached hereto as Annex 9 is Exhibit 50 to Plaintiffs’ Motion for Summary

  Judgment on Public Figure Affirmative Defense, previously filed under seal as part of D.E. 211-

  21.

         10.    Attached hereto as Annex 10 is Exhibit 61 to Plaintiffs’ Opposition to

  Defendants’ Motion for Summary Judgment, previously filed under seal as part of D.E. 234-4.

         11.    Attached hereto as Annex 11 is Exhibit 62 to Plaintiffs’ Opposition to

  Defendants’ Motion for Summary Judgment, previously filed under seal as part of D.E. 234-4.

         12.    Attached hereto as Annex 12 is Exhibit 73 to Plaintiffs’ Opposition to

  Defendants’ Motion for Summary Judgment, previously filed under seal as part of D.E. 234-5.

         13.    Attached hereto as Annex 13 is Exhibit 74 to Plaintiffs’ Opposition to

  Defendants’ Motion for Summary Judgment, previously filed under seal as part of D.E. 234-5.

         14.    Attached hereto as Annex 14 is Exhibit 76 to Plaintiffs’ Opposition to

  Defendants’ Motion for Summary Judgment, previously filed under seal as part of D.E. 234-5.

         15.    Attached hereto as Annex 15 is Exhibit 78 to Plaintiffs’ Opposition to

  Defendants’ Motion for Summary Judgment, previously filed under seal as part of D.E. 234-7.

         16.    Attached hereto as Annex 16 is Exhibit 79 to Plaintiffs’ Opposition to

  Defendants’ Motion for Summary Judgment, previously filed under seal as part of D.E. 234-7.

                                                 2
Case 0:17-cv-60426-UU Document 428 Entered on FLSD Docket 02/08/2019 Page 3 of 5



         17.    Attached hereto as Annex 17 is Exhibit 80 to Plaintiffs’ Opposition to

  Defendants’ Motion for Summary Judgment, previously filed under seal as part of D.E. 234-7.

         18.    Attached hereto as Annex 18 is Exhibit 81 to Plaintiffs’ Opposition to

  Defendants’ Motion for Summary Judgment, previously filed under seal as part of D.E. 234-7.

         19.    Attached hereto as Annex 19 is Exhibit 85 to Plaintiffs’ Opposition to

  Defendants’ Motion for Summary Judgment, previously filed under seal as part of D.E. 234-7.

         20.    Attached hereto as Annex 20 is Exhibit 86 to Plaintiffs’ Opposition to

  Defendants’ Motion for Summary Judgment, previously filed under seal as part of D.E. 234-7,

  partially redacted in accordance with the Court’s Order dated January 31, 2019 (D.E. 425).




                                                 3
Case 0:17-cv-60426-UU Document 428 Entered on FLSD Docket 02/08/2019 Page 4 of 5



  Dated: February 8, 2019

  Respectfully Submitted:

  /s/ Evan Fray-Witzer
  Evan Fray-Witzer (pro hac vice)
  CIAMPA FRAY-WITZER, LLP
  20 Park Plaza, Suite 505
  Boston, Massachusetts 02116
  Telephone: 617-426-0000
  Facsimile: 617-423-4855
  Evan@CFWLegal.com

  /s/ Valentin Gurvits
  Valentin D. Gurvits (pro hac vice)
  Matthew Shayefar (Fla. Bar No. 0126465)
  BOSTON LAW GROUP, PC
  825 Beacon Street, Suite 20
  Newton Centre, Massachusetts 02459
  Telephone: 617-928-1804
  Facsimile: 617-928-1802
  vgurvits@bostonlawgroup.com
  matt@bostonlawgroup.com

  /s/ Brady J. Cobb
  Brady J. Cobb (Fla. Bar No. 031018)
  Dylan Fulop (Fla. Bar No. 123809)
  COBB EDDY, PLLC
  1112 North Flagler Drive
  Fort Lauderdale, Florida 33304
  Telephone: 954-527-4111
  Facsimile: 954-900-5507
  bcobb@cobbeddy.com
  dfulop@cobbeddy.com

  Attorneys for Plaintiffs




                                            4
Case 0:17-cv-60426-UU Document 428 Entered on FLSD Docket 02/08/2019 Page 5 of 5



                                   CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing was served via CM/ECF on
  all counsel or parties of record on the service list below on February 8, 2019.


                                                       /s/ Matthew Shayefar
                                                       Matthew Shayefar


                                           SERVICE LIST

  Katherine M. Bolger
  Adam Lazier
  Davis Wright Tremaine, LLC
  1251 Avenue of the Americas, 21st Floor
  New York, New York 10020
  katebolger@dwt.com
  adamlazier@dwt.com

  Nathan Siegel
  Alison Schary
  Davis Wright Tremaine LLP
  1919 Pennsylvania Avenue, Suite 800
  Washington, DC 20006
  nathansiegel@dwt.com
  alisonschary@dwt.com

  Roy Eric Black
  Jared M. Lopez
  Black Srebnick Kornspan & Stumpf
  201 S Biscayne Boulevard, Suite 1300
  Miami, Florida 33131
  rblack@royblack.com
  jlopez@royblack.com




                                                   5
